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AO 245D (Rev. 09/19) Judgment in a Criminal Case for Revocations
Sheet 1]

UNITED STATES DISTRICT COURT

District of Columbia

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
v. ) (For Revocation of Probation or Supervised Release)
ERIC GENE BARBER
) Case No. 21-CR-228 (CRC)
) USM No. 32790-509
Ubong E. Akpan
THE DEFENDANT: Defendant’s Attorney
W admitted guilt to violation of condition(s) 1-3 of the term of supervision.
© was found in violation of condition(s) count(s) after denial of guilt.
The defendant is adjudicated guilty of these violations:
Violation Number Nature of Violation Violation Ended
| You must participate in a mental health assessment and 02/29/2024

comply with any treatment recommended. You shall follow the
rules and regulations of that program. The probation officer, in

consultation in the program. (Special Condition)

The defendant is sentenced as provided in pages 2 through ___3 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
© The defendant has not violated condition(s) and is discharged as to such violation(s) condition.

It is ordered that the defendant must notify the United States attorney for this district within 30 days ofany
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Last Four Digits of Defendant’s Soc. Sec. No.:_1579 05/09/2024

Date of | on o ZA)
¢

Defendant’s Year of Birth: 1978
City and State of Defendant’s Residence: Signature of Judge [/ i
Davisville, WV

Honorable Christopher R. Cooper, U.S.D.C. Judge

Name and Title of Judge

S/4(2-7

Date
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Sheet 1A

Judgment—Page 2 of 3

DEFENDANT: ERIC GENE BARBER

CASE NUMBER: 21-CR-228 (CRC)
ADDITIONAL VIOLATIONS
Violation

Violation Number Nature of Violation Concluded
2 You must participate in an alcohol abuse assessment and comply with any 02/29/2024

inpatient and/or outpatient alcohol abuse treatment program recommended.
You shall follow the rules and regulations of that program. The probation
officer will supervise your participation in the program. (Special Conditon)
3 You must regrain from any unlawful use of a controlled substance. You 03/01/2024
must submit one drug test within 15 days of placement on probation and at
least two periodic drug test thereafter, as determined by the Court.

(Mandatory Condition)
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AO 245D (Rev. 09/19) Judgment in a Criminal Case for Revocations
Sheet 2— Imprisonment

Judgment — Page 3 of

DEFENDANT: ERIC GENE BARBER
CASE NUMBER: 21-CR-228 (CRC)

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of :

Four (4) days with no term of probation to follow,

O The court makes the following recommendations to the Bureau of Prisons:

MM The defendant is remanded to the custody of the United States Marshal.

Cl The defendant shall surrender to the United States Marshal for this district:
Oat O am. O pm. on

O as notified by the United States Marshal.

(1 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

O_before 2 p.m. on

Olas notified by the United States Marshal.
O as notified by the Probation or Pretrial Services Office.

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at with a certified copy of this judgment.
UNITED STATES MARSHAL
By

DEPUTY UNITED STATES MARSHAL
